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                    UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
  __________________________________________________________________
  IN RE: AUTOMOTIVE PARTS                                   No. 12-md-02311
  ANTITRUST LITIGATION                                      Hon. Sean F. Cox
  __________________________________________________________________

  IN RE : WIRE HARNESS                             CASE NO. 2:12-CV-00103
  IN RE : INSTRUMENT PANEL CLUSTERS                CASE NO. 2:12-CV-00203
  IN RE : FUEL SENDERS                             CASE NO. 2:12-CV-00303
  IN RE : HEATER CONTROL PANELS                    CASE NO. 2:12-CV-00403
  IN RE : BEARINGS                                 CASE NO. 2:12-CV-00503
  IN RE : OCCUPANT SAFETY SYSTEMS                  CASE NO. 2:12-CV-00603
  IN RE : ALTERNATORS                              CASE NO. 2:13-CV-00703
  IN RE : ANTI-VIBRATIONAL RUBBER PARTS            CASE NO. 2:13-CV-00803
  IN RE : WINDSHIELD WIPERS                        CASE NO. 2:13-CV-00903
  IN RE : RADIATORS                                CASE NO. 2:13-CV-01003
  IN RE : STARTERS                                 CASE NO. 2:13-CV-01103
  IN RE : AUTOMOTIVE LAMPS                         CASE NO. 2:13-CV-01203
  IN RE : SWITCHES                                 CASE NO. 2:13-CV-01303
  IN RE : IGNITION COILS                           CASE NO. 2:13-CV-01403
  IN RE : MOTOR GENERATOR                          CASE NO. 2:13-CV-01503
  IN RE : STEERING ANGLE SENSORS                   CASE NO. 2:13-CV-01603
  IN RE : HID BALLASTS                             CASE NO. 2:13-CV-01703
  IN RE : INVERTERS                                CASE NO. 2:13-CV-01803
  IN RE : ELECTRONIC POWERED                       CASE NO. 2:13-CV-01903
  STEERING ASSEMBLIES
  IN RE : AIR FLOW METERS                          CASE NO. 2:13-CV-02003
  IN RE : FAN MOTORS                               CASE NO. 2:13-CV-02103
  IN RE : FUEL INJECTION SYSTEMS                   CASE NO. 2:13-CV-02203
  IN RE : POWER WINDOW MOTORS                      CASE NO. 2:13-CV-02303
  IN RE : AUTOMATIC TRANSMISSION                   CASE NO. 2:13-CV-02403
  FLUID WARMERS
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  IN RE : VALVE TIMING CONTROL DEVICES CASE NO. 2:13-CV-02503
  IN RE : ELECTRONIC THROTTLE BODIES         CASE NO. 2:13-CV-02603
  IN RE : AIR CONDITIONING SYSTEM            CASE NO. 2:13-CV-02703
  IN RE : WINDSHIELD WASHER                  CASE NO. 2:13-CV-02803
  IN RE : AUTOMOTIVE CONSTANT                CASE NO. 2:14-CV-02903
  VELOCITY JOINT BOOT PRODUCTS
  IN RE : SPARK PLUGS                        CASE NO. 2:15-CV-03003
  IN RE : AUTOMOTIVE HOSES                   CASE NO. 2:15-CV-03203
  IN RE : SHOCK ABSORBERS                    CASE NO. 2:15-CV-03303
  IN RE : BODY SEALING PRODUCTS              CASE NO. 2:16-CV-03403
  IN RE : INTERIOR TRIM PRODUCTS             CASE NO. 2:16-CV-03503
  IN RE : BRAKE HOSES                        CASE NO. 2:16-CV-03603
  IN RE : EXHAUST SYSTEMS                    CASE NO. 2:16-CV-03703
  IN RE : CERAMIC SUBSTRATES                 CASE NO. 2:16-CV-03803
  IN RE : POWER WINDOW SWITCHES              CASE NO. 2:16-CV-03903
  IN RE : AUTOMOTIVE STEEL TUBE              CASE NO. 2:16-CV-04003
  IN RE : ACCESS MECHANISMS ACTIONS          CASE NO. 2:16-CV-04103
  IN RE : DOOR LATCHES                       CASE NO. 2:17-CV-04303
  __________________________________________________________________
     THIS DOCUMENT RELATES TO:
     End-Payor Actions
  __________________________________________________________________

        REPLY TO END-PAYOR PLAINTIFFS’ OPPOSITION TO
   SUR-REPLY MEMORANDUM AND REQUEST FOR SPECIAL MASTER


        Contrary to Settlement Class Counsel’s misleading and grossly exaggerated

  assertion in its Opposition (ECF No. 2232), counsel for Enterprise Fleet Management

  (“EFM”) has claims on file on behalf of EFM customer lessees for exactly 3,964 of the

  same vehicles claimed by EFM. Declaration of Emma K. Burton attached as Exhibit

  A ¶4. In an effort to resolve this dispute in October of last year, EFM offered to



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  Settlement Class Counsel to forgo any recovery for vehicles for which a valid, competing

  claim was timely filed by a qualifying lessee to the same vehicle, which would include

  all 3,964 of these vehicles. Id. ¶5. In other words, under the proposal that EFM made

  to Settlement Class Counsel over 10 months ago, there would be no duplicate recovery

  based on the same vehicle. Settlement Class Counsel continues to reject EFM’s

  proposal.




   September 19, 2022                            Respectfully submitted,


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                                                 Counsel for Enterprise Fleet Management, Inc.




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                            CERTIFICATE OF SERVICE

        I hereby certify that on September 19, 2022, a copy of the foregoing was filed

  electronically using the Court’s ECF system, which will send notification to each

  attorney of record by electronic means. Parties may access this filing through the

  Court’s system.


   Dated: September 19, 2022                     By: /s/ Lawrence J. Lines III
                                                 Lawrence J. Lines III




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